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1    HEATHER E. WILLIAMS, Bar #122664
     Federal Defender
2    HANNAH R. LABAREE, Bar #294338
     Assistant Federal Defender
3    Counsel Designated for Service
     801 I Street, 3rd Floor
4    Sacramento, California 95814
     Telephone: (916) 498-5700
5
6    Attorneys for Defendant
     JESUS ALFONZO BARRAZA BARRAZA
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8
                                             UNITED STATES DISTRICT COURT
9
                                            EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                           No. Cr. S 2:08-cr-562-12 WBS
12
                               Plaintiff,                STIPULATED MOTION AND [lodged] ORDER
13                                                       TO REDUCE SENTENCE PURSUANT TO 18
               v.                                        U.S.C. § 3582(c)(2)
14
     JESUS ALFONZO BARRAZA                               RETROACTIVE DRUGS-MINUS-TWO
15   BARRAZA,                                            REDUCTION CASE

16                             Defendant.                Judge: The Honorable WILLIAM B. SHUBB

17
               Defendant, JESUS ALFONZO BARRAZA BARRAZA, by and through his attorney,
18
     Assistant Federal Defender Hannah R. Labaree, and plaintiff, UNITED STATES OF
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     AMERICA, by and through its counsel, Assistant U.S. Attorney Jason Hitt, hereby stipulate as
20
     follows:
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               1.         Pursuant to 18 U.S.C. § 3582(c)(2), this Court may reduce the term of
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     imprisonment in the case of a defendant who has been sentenced to a term of imprisonment
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     based on a sentencing range that has subsequently been lowered by the Sentencing Commission
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     pursuant to 28 U.S.C. § 994(o);
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               2.         On June 3, 2011, this Court sentenced Mr. Barraza to a term of 151 months
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     imprisonment, comprised of 151 months on Count 1 of the Superseding Indictment and 48
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     months on Count 7, to be served concurrently;
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     Stipulation and Order Re: Sentence Reduction         1
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1              3.         Mr. Barraza’s total offense level was 34, his criminal history category was I, and
2    the resulting guideline range was 151 to 188 months;
3              4.         The sentencing range applicable to Mr. Barraza was subsequently lowered by the
4    United States Sentencing Commission in Amendment 782, made retroactive on July 18, 2014,
5    see 79 Fed. Reg. 44,973;
6              5.         Mr. Barraza’s total offense level has been reduced from 34 to 32, and his
7    amended guideline range is 121 to 151 months;
8              6.         Accordingly, the parties request the Court enter the order lodged herewith
9    reducing Mr. Barraza’s term of imprisonment to a term of 121 months on Count 1, to run
10   concurrently with the 48-month sentence on Count 7. The parties agree this sentence is fair and
11   reasonable pursuant to 18 U.S.C. § 3553(a).
12   Respectfully submitted,
13   Dated: October 13, 2015                            Dated: October 13, 2015
14   BENJAMIN B. WAGNER                                 HEATHER E. WILLIAMS
     United States Attorney                             Federal Defender
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16    /s/ Jason Hitt                                    /s/ Hannah R. Labaree __
     JASON HITT                                         HANNAH R. LABAREE
17   Assistant U.S. Attorney                            Assistant Federal Defender
18   Attorney for Plaintiff                             Attorney for Defendant
     UNITED STATES OF AMERICA                           JESUS ALFONZO BARRAZA BARRAZA
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     Stipulation and Order Re: Sentence Reduction          2
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1                                                    ORDER
2              This matter came before the Court on the stipulated motion of the defendant for reduction
3    of sentence pursuant to 18 U.S.C. § 3582(c)(2).
4              The parties agree, and the Court finds, that Mr. Barraza is entitled to the benefit
5    Amendment 782, which reduces the total offense level from 34 to 32, resulting in an amended
6    guideline range of 121 to 151 months.
7              IT IS HEREBY ORDERED that the term of imprisonment imposed in June 2011 is
8    reduced to a term of 121 months for Count 1, to run concurrently to the 48-month term on Count
9    7, for a total term of 121 months imprisonment, a sentence which the court now finds to fair and
10   reasonable pursuant to 18 U.S.C. § 3553(a) in light of the retroactively revised thinking of
11   Congress and the Sentencing Commission.
12             IT IS FURTHER ORDERED that all other terms and provisions of the original judgment
13   remain in effect. The clerk shall forthwith prepare an amended judgment reflecting the above
14   reduction in sentence, and shall serve certified copies of the amended judgment on the United
15   States Bureau of Prisons and the United States Probation Office.
16             Unless otherwise ordered, Mr. Barraza shall report to the United States Probation Office
17   within seventy-two hours after his release.
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     Dated: December 16, 2015
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     Stipulation and Order Re: Sentence Reduction        3
